                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE

                                             )
 IN RE: JAMES D. DUNCAN                      )      No.:   3:20-MC-54-TAV-HBG
                                             )


                                 JUDGMENT ORDER

       For the reasons set forth in the memorandum opinion filed contemporaneously with

 this order, the Clerk is DIRECTED to terminate James D. Duncan’s pending motion for

 extension [Doc. 4] and to file his inmate trust account statement and accompanying letter

 [Doc. 1] in Jett v. Anderson County, Tennessee, et al., Civil Action No. 3:20-CV-365-

 DCLC-HBG.       This action is DISMISSED without prejudice and the Clerk is

 DIRECTED to close this file.

       ENTER:


                                   s/ Thomas A. Varlan
                                   UNITED STATES DISTRICT JUDGE


 ENTERED AS A JUDGMENT

       s/ John L. Medearis
       CLERK OF COURT




Case 3:20-mc-00054-TAV-HBG Document 6 Filed 10/27/20 Page 1 of 1 PageID #: 19
